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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA
In re: CaSe NO. 09-36284-€-7

CHRISTINE M. EMMERSON
(PREVIOUSLY KNOWN AS CHRISTINA

Adversary No. 09-2626

 

 

 

 

 

 

 

 

 

Defendant(s).

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M. LARA), ) DC NOS. MJH-2
) and
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Debtor(s). )
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TONY D. REGIS, ) §§ '
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Plaintiff(s), )
) JuN 2 8 2011
v. )
)
CHRISTINE M- LAR-A, ) uN\TED STATES BANKRUPTCY couRT
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MEMORANDUM DECISION ON REMAND FROM BANKRUPTCY APPELLATE PANEL

The Bankruptcy Appellate Panel (BAP) vacated and remanded
this court's judgment in the adversary proceeding that was tried
previously on April 27, 2010, in which this court declared that a
judgment in the amount of $450,000 awarded by the Superior Court
for the State of California, County of Sacramento, against the
debtor is excepted from discharge on a theory of issue
preclusion. The BAP decision was filed March 25, 2011.

Specifically, the BAP agreed with the undersigned trial
judge that all five threshold elements for application of issue
preclusion are satisfied in this case: “Consequently, we
conclude that all five threshold elements have been satisfied.”
BAP Memorandum at 15.

The remand was occasioned because this court did not make an

 

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adequate record with respect to the additional question whether
imposition of issue preclusion would be fair and consistent with
sound public policy. Khaligh v. Hadaegh, 338 B.R. 817, 824-25
(9th Cir. BAP 2006), a§f;d, 506 F.3d 956 (9th Cir. 2007); Roos v.
Rid, 130 Cal. App. 4th 870, 30 Cal. Rptr. 3d 446, 453 (2005). In
other words, as it is not mandatory to impose issue preclusion
when the basic elements for such preclusion are present, the
court must determine whether to exercise its discretion to impose
issue preclusion in light of considerations of fairness and
public policy. BAP Memorandum at 16-18.

As a result of the BAP decision, it is the law of the case
that the threshold elements for issue preclusion are present.
Accordingly, on remand this court is limited to the question
whether the imposition of issue preclusion would be fair and
consistent with sound public policy and would not result in
injustice.

Although the parties have filed cross-motions for summary
judgment that focus upon the broad spectrum of issue preclusion
matters, the only question permissibly before this court on
remand is the narrow inquiry relating to the exercise of
discretion. Thus, as explained during the hearing on remand, the
summary judgment motions will be denied.

The BAP noted that in August 2008 the Superior Court for the
State of California, County of Sacramento, issued an order
awarding full legal custody to the daughter of the parties to the
debtor, with no visitation rights to the plaintiff unless
initiated and sought by the daughter. Thereafter, on February 5,

2009, the same court, acting through its civil division instead

 

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of its family law division, entered a judgment in the action for
partition of a residence on a cross-complaint by the plaintiff.

The February 5, 2009, judgment is the judgment that this
court determined eligible for issue preclusion, which eligibility
has now been validated by the BAP on appeal.

The aspect that concerned the BAP is the apparent
inconsistency between the August 2008 family law order of full
legal custody in favor of the debtor without visitation rights by
the plaintiff unless initiated and sought by the daughter, which
decision was issued about six months before the February 5, 2009,
judgment by the civil division of the same court as to which this
court imposed issue preclusion,

This court is mindful that the two decisions of the
Sacramento County Superior Court are arguably inconsistent, and
it was mindful of that at the time of entering the original
judgment imposing issue preclusion (but did not sufficiently
articulate its reasoning on the point).

Upon mature reflection on remand, this court remains
persuaded that the interests of fairness, sound public policy,
and avoiding injustice are best served by imposing issue
preclusion in this situation.

First, both of the putatively conflicting decisions emanate
from the Sacramento County Superior Court. It is fundamentally a
matter for the California courts to resolve the internal problems
attendant to inconsistencies in their own judgments. There are
provisions in California procedure for bringing the
inconsistencies to the attention of the appropriate superior

court, and, if relief is not forthcoming, the district court of

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appeal is in a position to police the matter.

Second, the interest of comity between the federal
bankruptcy court and the state courts is also important and
pertinent to the analysis. In effect, this court is being asked
by the debtor-defendant to serve a review function that is
primarily the role of the California courts.

It is emphasized that this is not a situation in which
different state courts are at war with each other. Rather, it is
the same superior court. This federal court regards it as
unseemly to interfere with the harmonization of arguably
inconsistent decisions rendered by the same state court.
Moreover, the debtor has the remedy of, as noted, asking the
Sacramento County Superior Court to revisit its decision and of
appealing to the Third District Court of Appeal.

For these reasons, the court is persuaded that sound public
policy favors leaving the parties to the remedies of asking the
state court to clarify its own rulings and of appealing within
the state court system.

Moreover, this court is persuaded that the application of
issue preclusion in this instance is fair and will not result in
injustice.

It is argued by the parties that the Sacramento County
Superior Court did not have jurisdiction to render the money
judgment. It is conceded that there is no California statute
that directly addresses this question and that the jurisdictional
issue is an argument based on interpretation of cases. A review
by this court of the cases that are cited do not unambiguously

establish that there was no jurisdiction for the Sacramento

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County Superior Court to have entered the February 5, 2009,
judgment; rather, at most, the cases articulate prudential
considerations to be taken into account in management of
conflicting and multiplicitous litigation. In any event, sound
public policy and fairness counsel in favor of letting California
courts resolve questions of their own jurisdiction over questions
of California law.

Accordingly, on remand, this court, being fully mindful that
the two rulings of the Sacramento County Superior Court are
arguably inconsistent, concludes that imposition of issue
preclusion is appropriate and consistent with fairness and sound
public policy and will enter another judgment consistent
herewith.

As it is not necessary for a motion to trigger the further
analysis on remand, the summary judgment motions are DENIED.

Dated: June 23, 2011.

 

UNITED sTAi~E`é\{_EANKRUPTCY JUDGE

 

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CERTIFICATE OF SERVI CE

On the date indicated below, I served a true and correct
copy(ies) of the attached document by placing said copy(ies) in a
postage paid envelope addressed to the person(s) hereinafter
listed and by depositing said envelope in the United States mail
or by placing said copy(ies) into an interoffice delivery
receptacle located in the Clerk's Office.

Mark J. Hannon
1114 W Frernont St
Stockton, CA 95203

Herrnan Franck
18017th St #150
Sacramento, CA 95811

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DEPUTY CLERK Mark D_ Swim

 

 

